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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

W|LMER GARClA-RAMIREZ, et al.,

Plaintiffs,
Civil Action No. l:lS-CV-OOSOS-RC

V.

UNITED STATES lMMlGRATlON AND
CUSTOl\/IS ENFORCEMENT, el al.,

Def`endants.

 

FR(§LPV(')?EB‘|?/
l l’RO'I`EC'l`lVE ORDER

l. Scope. The following terms, conditions, procedures', and restrictions govern the
discovery produced by Defendant U.S. lmmigration and Customs Ent`orcement (“ICE”) in this
litigation The protections conferred by this Order cover Protected lviateria| (as defined below), and:
(l) any information copied or extracted from Protected Material; (2) all copies, excerpts,
summaries, or compilations ofProtected Material; and (3) any testimony, conversations, or
presentations by parties or their counsel that reveal Protected Material.

2. Protected Material. Protected Material means any documents, revealing:

a. lnformation exempted from disclosure under the Privacy Act,
5 U.S.C. § 552a, el seq., or covered by Fedcral Rule ofCivil Procedure
5.2;

b. Any individual’s birth date, social security number, tax identification
number, alien registration number (“A number”), passport numbers,
driver’s license numbers, and any similar numbers assigned to an

individual by a federal, state, or local government ofthe United States or

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government entity of another country ifnot subject to privilege or other

restrictions prohibiting disclosure; *§ a,,._,/,._j(j
t . . by
€U`°B¢\» -\:p`. 1b1 c. The names, telephone numbers, and electronic mall addresses of federal OA.MFW€M
g d ,¢\¢0\ gv\,\ow‘§?,
O*"" _r< government employecs; o{`&/‘,
gv'c%¢‘t~*""wp. o
OW"*' cr d. lnformation that is law enforcement sensitive, including information that g

may be protected from public disclosure under the Freedom of
lnformation Act, 5 U.S.C. § 552, etseq., and is not subject to law
enforcement privilege or other restictions on disclosure; or

e. lnter-agency or intra-agency memoranda or letters that would not be
available by law other than in litigation with Defendants.

3. Designations. Defendants may designate Protected Material by labeling it
“PROTECTED MATERIAL.” The duty ofthe Plaintiffs and of all other persons bound by this
Protective Order to maintain the confidentiality of Protected Material so designated shall commence
when the Protected Material is received by Plaintiffs.

4. Access to Protected Material. Beyond authorized federal agency employees,
including Defendants’ Counsel, only the following persons shall have access to Protected Materia|:

a. This Court, this Court’s official personnel, and any reviewing appellate court and
its personnel;

b. Plaintiffs’ Counsel, including any attorneys, paralegals, office c|er|<s, secretaries,
and other support staff to whom such disclosure Plaintiffs’ Counsel deems
reasonably necessary. The persons covered by this Section 4(b) shall use the

Protected Material only for purposes of this litigation and/or related |itigation';

 

' Related litigation referenced in this Protective Order refers to any litigation that has been related to
the instant litigation under Rule 40.5 ofthe Local Rules ofthe U.S. District Coul't for the District of
Columbia.

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c. Lega| or subject matter experts and consultants (and the experts’ or consultants’
staff whose duties and responsibilities require access to such Protected Material)
engaged or consulted by Plaintiffs’ Counsel to assist in this litigation and/or
related litigation. These experts, constiltants, and their associated staff shall use
the Protected Material only for purposes of this litigation or related litigation and
shall execute an acknowledgment in the form of Exhibit A prior to receiving any
Protected Material. All acknowledgment forms shall be forwarded to Counsel for
Defendants upon execution; and

d. Court reporters and interpreters

S. Use ofProtected Material before a Court. Nothing contained in this Protective
Order shall be construed to limit use of Protected Material before this Court for the purposes ofthis
litigation or in related litigation. When filing Protected Material with this Court, a party shall
request that the Protected Material be filed under seal and Shall provide the opposing party and the
Court with an unredacted (revealing the Protected Material) version ofthe filing at the time of
filing.

6. Cha|lenge to Designations. lfPlaintiffs’ Counsel seek to challenge any Protected
Material designation or redaction or seek to disclose Protected Material to persons not covered by
Paragraph 4, the following procedure shall be used:

a. Plaintiffs’ Counsel shall give Defendants’ counsel notice by email specifying the
redaction or Protected Material for which such removal is sought and the reasons
for the request Defendants shal|, within five (5) business days of such notice,
either remove the designation or send an objection to Plaintiffs’ Counsel by

emai|.

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b. ll`the Parties cannot reach agreement concerning the designation, Plaintiffs’
Counsel may file a motion with the Court seeking relief. The designated material
shall continue to be redacted or treated as Protected Material until the issue is
resolved by Order ofthis Court.

c. Upon request by Plaintiffs’ Counsel, Defendants shall specify the basis for the
designation of“Protected Material” for any particular designation.

7. Disclosure to Unauthorized Persons. lf Protected Material is disclosed by
Plaintiffs’ Counsel to any unauthorized person through inadvertence, mistake, or otherwise without
authorization by the Defendants, Plaintiffs’ Counsel shall: (a) use their best efforts to retrieve the
disclosed information and all copies thereof; (b) advise the recipient ofthe improperly disclosed
information, in writing, ofthe terms of this Proteetive Order; and (c) take all reasonable steps to
prevent further disclosure by or to the unauthorized person who received the Protected l\/Iateria|.

8. Inadvertent Disclosure of Protected Material. The failure by Defendants to
designate specific documents or materials as Protected Material shall not, by itself, be deemed a
waiver in whole or in part ofa claim of confidentiality as to such documents or materials Upon
written notice to the Plaintiffs ofsueh failure to designate, or of incorrect designation, Plaintiffs
shall cooperate to retrieve disseminated copies, and restore the confidentiality ofthe inadvertently
disclosed information beyond those persons authorized to review such information pursuant to
Paragraph 4, and shall thereafter take reasonable steps to ensure that the Protected Material is
treated in accordance with the designation. No person or Party shall incur any liability under this
Protective Order with respect to disclosure that occurred prior to the receipt of written notice ofthe
mistaken designationl

9. Good Faith Designations. Plaintiffs and Defendants represent that Defendants’

designation of Protected Material, the parties’ requests to permit further disclosure of Protected

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Material, and the responses thereto shall be made in good faith and not to impose burden or delay,

or for tactical or other advantage in litigation.

10. Reservation of rights. Nothing in this Order compels the production or disclosure

' of privileged material, prevents the the producing party from making any objection or claim of
privilege, or constitutes an admission or waiver of any claim, privilege, or defense by the producing
party. Nothing in this Order waives the parties’ rights to challenge any claim, privilege or defense

made by the producing party.

ll. Redactions of Privileged Information. lnformation contained in any document
produced in this litigation and is subject to any legal privilege, including but not limited to attorney-
client, deliberative process, and law enforcement privileges, will remain redacted after the entry of

this Protective Order.

12. Survival and Final Disposition of Designated Material. Final termination of this
litigation, including exhaustion of appellate remedies, shall not terminate the limitations imposed by

this Protective Order.

SO ORDERED
,V¢.>’_
Dated: October l'\ , 2018 %?’///
Rudolph dontreras

United States District Judge

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STIPULATION EXHIBIT A
ACKNOWLEDGMEN'I` AND AGREEMENT CONCERNING PROTECTED MATERlAL

 

 

 

 

My name is (first, middle initial, last).
l live at (street address),
(city), (state) (zip code).
l am employed as a/an by (company),
which is located at (street address),
(city), (state) (zip code). lts

telephone number is

 

l have read the attached Protective Order entered in the action of Garci'a-Ramirez, et al., v.
lmmigration and Customs Enforcemem, et al., pending in the District Court for the District of
Columbia and bearing Case No. l:lS-cv-OOSOS-RC and a copy ofthe Protective Order has been
given to me.

l agree to be bound by the terms ofthe Protective Order.

l agree that l will not disclose or discuss Protected Material with anyone other than the persons
described in Paragraph 4 of the Protective Order.

l understand that any disclosure or use of Protected Material in any manner contrary to the
provisions ofthe Protective Order may subject me to sanctions for contempt ofthe Court’s Order.

l agree to be subject i'n personam to thejurisdiction ofthe United States District Court for
the District of Co|umbia in connection with any proceeding concerning an alleged unauthorized

(under the Protective Order) disclosure of Protected Material that involves me.

 

 

Date S ignature

